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 4                           UNITED STATES DISTRICT COURT
 5
                           SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                     Case No.:   22-MJ-444
 8                              Plaintiff,         COMPLAINT FOR VIOLATION OF:
 9
                     V.                            18 U.S.C. § 922(g)(1) - Felon in
10                                                 Possession of a Firearm
11   SAYA SOUVANNASENG,
      aka “Too Short,”
12
13                             Defendant.

14        The undersigned complainant being duly sworn states:
15                                           Count One
16        On or about January 28, 2022, within the Southern District of California, defendant
17 SAYA SOUVANNASENG, aka “Too Short,” knowing his status as a convicted felon, that
18 is, a person having been previously convicted of a crime punishable by imprisonment for a
19 term exceeding one year, did knowingly possess ammunition that traveled in and affected
20 interstate commerce, to wit: a Smith & Wesson, M&P Shield, Serial #JNF2451, .40 caliber;
21 in violation of Title 18, United States Code, Section 922(g)(1).
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 1         The complainant further states that this complaint is based on the attached Probable
 2 Cause Statement incorporated herein by reference.
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                                                    _____________________________
 5
                                                    Christopher Tews
 6                                                  Task Force Officer
 7
     Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 8
     telephone on this 8th day of February, 2022.
 9
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11                                                  _________________________________
                                                    HON. BERNARD G. SKOMAL
12                                                  United States Magistrate Judge
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 1                           PROBABLE CAUSE STATEMENT
 2        On January 28, 2022, San Diego Police Department (SDPD) officers were on duty
 3 near 4600 El Cajon Blvd, City of San Diego, within the Southern District of California. The
 4 officers observed a vehicle leaving a known illegal gambling den and noted the vehicle had
 5 expired registration and a front cracked widow and proceeded to conduct a traffic stop.
 6        Officers contacted the passenger of the vehicle and identified him as SAYA
 7 SOUVANNASENG, aka “Too Short.” The officer had prior knowledge that there was
 8 probable cause to arrest SOUVANNASENG for being a convicted felon in possession of
 9 ammunition. SOUVANNASENG was removed from the vehicle and placed under arrest.
10 SOUVANNASENG was taken to the patrol car and searched, during which a small plastic
11 baggie containing white crystalline substance with a hard, round rock the size of a quarter
12 was found in SOUVANNASENG’s right shoe.
13
          SOUVANNASENG stated the vehicle was his and provided officers with consent to
14
   search the vehicle. The vehicle was also searched due to SOUVANNASENG being placed
15
   under arrest and having a controlled substance on his person. Inside the vehicle an officer
16
   located a Smith and Wesson M&P Shield .40 caliber handgun Serial #JNF2451. The firearm
17
   was loaded with six (6) .40 caliber rounds in the magazine. The firearm was found inside
18
   the front dashboard of the vehicle within arms reach of SOUVANNASENG. A records
19
   check was later completed on the firearm by its serial number which revealed the firearm
20
   was stolen.
21
22        During the search officers also found a medium sized plastic container under the

23 passenger side of the vehicle. The container was secured to the frame of the vehicle by
24 magnets. Inside the plastic container was a medium sized baggie full of a white powdery
25 substance believed to be a controlled substance. SDPD Lab verified the controlled substance
26 was methamphetamine.
27        SOUANNASENG was taken to SDPD Mid-City Division where he agreed to be
28 interviewed. During a post-Mirandized statement SOUVANNASENG indicated that the
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 1 gun found in the vehicle was his and he had just bought it on the street for $500.
 2 SOUVANNASENG believed his DNA and prints would be found on the firearm.
 3 SOUVANNASENG noted the magazine was loaded with ammunition, but a round was not
 4 chambered. SOUVANNASENG claimed to be first generation OKB (Oriental Killer Boys).
 5         A record check on SOUVANNASENG revealed that he had the following criminal
 6 history:
 7     CONVICTION           COURT       OF     CHARGE                    TERM           OF
 8      DATE                CONVICTION                                   IMPRISONMENT
        05/17/2004          California         Cal. Penal Code: 487(A)   3 years prison
 9                          Superior Court     - Grand Theft and
10                          – San Diego        496(A) - Receive
                                               Known Stolen Property
11      09/18/2007          California         Cal Penal Code: 475-      4 years prison
12                          Superior Court     Poss Forged Notes;
                            – San Diego        530.5(A) Get Credit Use
13
                                               Other; 470(A) -
14                                             Alter/Forge/Falsify
                                               Driver;
15
        01/28/2010          California         Violation of Parole       To finish term
16                          Superior Court
                            – San Diego
17
        12/09/2010          California         Violation of Parole       To finish term
18                          Superior Court
19                          – San Diego
        1/31/2017           California         Cal Penal Code;           3 years prison, 3
20                          Superior Court     273.5(A) Infl Crpl Inj:   years prison
21                          – San Diego        Spouse/Cohab/Date;        concurrent
                                               136.1(B)(1) Att
22                                             Prvnt/ETC Victim
23
24         Preliminary checks revealed that the Smith & Wesson M&P Shield, Serial #JNF2451,
25 was not manufactured in California. Therefore, the firearm traveled in, and/or affected
26 interstate commerce to arrive in the state of California.
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